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 3                    IN THE UNITED STATES DISTRICT COURT FOR THE
 4                               EASTERN DISTRICT OF CALIFORNIA
 5
 6      TERRY DELAMATER, individually       )                 NO. 1:09-CV-2025 AWI-SMS
        and dba FAMILY FITNESS OF           )
 7      ROYAL, LLC,                         )                 ORDER REGARDING THE
                                            )                 PARTIES’ EX PARTE
 8                        Plaintiff,        )                 COMMUNICATIONS
              v.                            )
 9                                          )
        ANYTIME FITNESS, INC.,              )
10                                          )
                          Defendant.        )
11      ____________________________________)
12
13
            On April 5, 2010, Defendant Anytime Fitness (“Defendant”) submitted a letter to the
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     court requesting that the court schedule an evidentiary hearing in connection with Defendant’s
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     “anticipated motion for a preliminary injunction.” On April 7, 2010, Plaintiff Terry Delamater
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     (“Plaintiff”) submitted a letter in response to Defendant’s April 5 letter, requesting that the court
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     refrain from hearing any arguments or motions related to preliminary injunctions until the court
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     has ruled on the parties’ cross-motions for summary judgment.
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            Defendant, however, has not filed a formal motion for a preliminary injunction in
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     accordance with Local Rule 231.1 Therefore, the only pending motions before the court are the
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     parties’ cross-motions for summary judgment. The court only acts upon properly filed pleadings
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     and not ex parte communications. The parties are admonished that correspondence to the court
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     designed as motions are inappropriate and any further ex parte communications will not be
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     considered by the court.
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     IT IS SO ORDERED.
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     Dated:     April 13, 2010                          /s/ Anthony W. Ishii
27   0m8i78                                    CHIEF UNITED STATES DISTRICT JUDGE
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            1
              Defendant’s reference to a motion for preliminary injunction embedded within its reply
     in a footnote is wholly insufficient to comply with L.R. 231. See Doc. No. 38 at page 19.
